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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA

                               * * * * * * * * * * * * * * * * * *

Wade Ervin Grangruth,                                         Court File No. 19-cv-2878 (PJS/LIB)

                           Plaintiff,

        vs.                                                      ORDER ADOPTING
                                                          REPORT AND RECOMMENDATION
City of Scanlon, et al.,

                           Defendants.

                               * * * * * * * * * * * * * * * * * *

        Based upon the Report and Recommendation of United States Magistrate Judge Leo I.

Brisbois, and after an independent review of the files, records and proceedings in the above-entitled

matter, IT IS ORDERED:

    1. Defendants City of Scanlon, Marshall Johnson, Lori Stigers, James Pratt, Allan Wallin,

        Mike Berthiaume, and Scott Beodigheimer’s Motion to Dismiss in Lieu of Answer,

        [Docket No. 11], is GRANTED;

    2. Defendant Dennis Korman’s Motion to Dismiss, [Docket No. 17], is GRANTED;

    3. Plaintiff’s Motion to Move Court for Summary Judgment, [Docket No. 44], is STRICKEN

        as filed in error; and

    4. Plaintiff’s Complaint, [Docket No. 1], in its entirety, is DISMISSED with prejudice.

LET JUDGMENT BE ENTERED ACCORDINGLY.



DATED: 10/20/20                                       _____________________________
At Minneapolis, Minnesota                             Patrick J. Schiltz, Judge
                                                      United States District Court
